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                          UNITED STATES DISTRICT COURT
                                      Office of the Clerk
                                  Eastern District of Texas
                                    300 Willow, Room 104
                                                                                   JUL     L t   il I
                                     Beaumont, TX 77701
                                                                              \
DAVID A. O TOOLE
  Clerk


U.S. District Clerk
Southern District of TX
PO Box 61010
Houston, TX 77208

Re: USA vs. Raymundo Pantoja, ED/TX No. 1:16cr94-l

Dear Clerk:

       On June 29, 2018, the Honorable Thad Heartfield, United States District Judge for this
district, entered an order in the above captioned case transferring jurisdiction of supervised
release as to Raymundo Pantoja to the Southern District of Texas.

       Pursuant to said order and acceptance of jurisdiction by the Southern District of Texas,
we are forwarding herewith copies of the indictment, judgment, docket sheet and transfer order.

       Please acknowledge receipt on the enclosed copy of this letter.

                                                              Very truly yours,

                                                              DAVID A. O TOOLE, Clerk

                                                              B Tiffany Doyen
                                                                         Deputy Clerk


Enclosures



Received items described above on this date:
